Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 1 of 70




              EXHIBIT 4
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 2 of 70
                Case
Order confirmation      3:16-cv-00940-MPS
                   for order #54457       Document 140-3 Filed 05/03/19 Page 3 of 70


  GAW Miners to me                                                                     10/13/14
  Thank you for placing your order with GAW Miners!

  This email is to confirm your recent order.

   Date 10/13/2014

   Billing address
    Arthur James



    United States

  2x Hashlet Prime 1 ­ Prime Hashlet 1 for $49.95 each




  Discount (code: SLUFLG2LQTVIGP): $­10.00 USD
  Subtotal : $89.90 USD
  Total   : $89.90 USD
                   Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 4 of 70


Order confirmation for order #25538


   GAW Miners to me                                                                    8/19/14
   Thank you for placing your order with GAW Miners!

   This email is to confirm your recent order.

    Date 08/19/2014

    Billing address
     Arthur James



     United States

   2x Hashlet 5 ­ Hashlet 5 for $79.99 each




   Subtotal : $159.98 USD
   Total   : $159.98 USD
                   Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 5 of 70


Order confirmation for order #23985


   GAW Miners to me                                                                    8/16/14
   Thank you for placing your order with GAW Miners!

   This email is to confirm your recent order.

    Date 08/16/2014

    Billing address
     Arthur James



     United States

   1x Hashlet 1 ­ Hashlet 1 for $15.99 each




   Subtotal : $15.99 USD
   Total   : $15.99 USD
                   Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 6 of 70


Order confirmation for order #22565


   GAW Miners to me                                                                                                      8/11/14
   Thank you for placing your order with GAW Miners!

   This email is to confirm your recent order.

    Date 08/11/2014

    Billing address
     Arthur James



     United States

   1x 40­42 Mh/s ­ Lightning X6 by Zeusminer ­ 1 Month of FREE ZenCloud Hosting Service ­ 24­Hour Activation! (Low­Power Scrypt
   ASIC Miner) for $799.95 each




   Subtotal : $799.95 USD
   Total   : $799.95 USD
                   Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 7 of 70


Order confirmation for order #36008


   GAW Miners to me                                                                    9/5/14
   Thank you for placing your order with GAW Miners!

   This email is to confirm your recent order.

    Date 09/05/2014

    Billing address
     Arthur James



     United States

   1x Hashlet Genesis 50 for $49.95 each




   Subtotal : $49.95 USD
   Total   : $49.95 USD
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 8 of 70
                       Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 9 of 70

Order confirmation for order #25538


   GAW Miners to me                                                              8/19/14

   Thank you for placing your order with GAW Miners!

   This email is to confirm your recent order.

    Date 08/19/2014

    Billing address
     Arthur James



     United States

   2x Hashlet 5 ­ Hashlet 5 for $79.99 each




   Subtotal : $159.98 USD
   Total   : $159.98 USD
                      Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 10 of 70
Order confirmation for order #54457


   GAW Miners to me                                                             10/13/14
   Thank you for placing your order with GAW Miners!

   This email is to confirm your recent order.

    Date 10/13/2014

    Billing address
     Arthur James



     United States

   2x Hashlet Prime 1 ­ Prime Hashlet 1 for $49.95 each




   Discount (code: SLUFLG2LQTVIGP): $­10.00 USD
   Subtotal : $89.90 USD
   Total   : $89.90 USD
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 11 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 12 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 13 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 14 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 15 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 16 of 70
               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 17 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Wednesday, September 10, 2014 8:48 AM
To:                  jsaunders1974@gmail.com
Subject:             Order confirmation for order #39691


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 09/10/2014

 Billing address
  Jack Saunders


  United States

1x Hashlet Prime 5 ‐ HashletPrime 5 for $249.75 each




Subtotal : $249.75 USD
Total : $249.75 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 18 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Friday, October 10, 2014 9:43 AM
To:                  jsaunders1974@gmail.com
Subject:             Order confirmation for order #53611


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 10/10/2014

 Billing address
  Jack Saunders


  United States

1x Zen Hashlet 15 for $314.25 each




Subtotal : $314.25 USD
Total : $314.25 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 19 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Friday, November 28, 2014 10:02 AM
To:                  jsaunders1974@gmail.com
Subject:             Order confirmation for order #63234


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 11/28/2014

 Billing address
  Jack Saunders


  United States

1x HashStaker 25 ‐ 6 Month Container for $448.75 each




Subtotal : $448.75 USD
Total : $448.75 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 20 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Monday, September 8, 2014 8:34 PM
To:                  jsaunders1974@gmail.com
Subject:             Order confirmation for order #38649


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 09/08/2014

 Billing address
  Jack Saunders


  United States

1x Hashlet Prime 1 ‐ Prime Hashlet 1 for $49.95 each




Subtotal : $49.95 USD
Total : $49.95 USD




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Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 21 of 70
               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 22 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Friday, September 12, 2014 6:34 AM
To:                  imartinhorton@gmail.com
Subject:             Order confirmation for order #40853


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 09/12/2014

 Billing address
  Martin Horton


  United Kingdom

1x Multi Hashlet 1 for $15.95 each




Subtotal : $15.95 USD
Total : $15.95 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 23 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Friday, September 12, 2014 7:08 AM
To:                  imartinhorton@gmail.com
Subject:             Order confirmation for order #40873


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 09/12/2014

 Billing address
  Martin Horton


  United Kingdom

1x Hashlet Prime 1 ‐ Prime Hashlet 1 for $49.95 each




Subtotal : $49.95 USD
Total : $49.95 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 24 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Friday, September 12, 2014 7:21 AM
To:                  imartinhorton@gmail.com
Subject:             Order confirmation for order #40878


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 09/12/2014

 Billing address
  Martin Horton


  United Kingdom

1x Hashlet Genesis 50 for $49.95 each




Subtotal : $49.95 USD
Total : $49.95 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 25 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Wednesday, September 24, 2014 11:10 AM
To:                  imartinhorton@gmail.com
Subject:             Order confirmation for order #47039


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 09/24/2014

 Billing address
  Martin Horton


  United Kingdom

1x Hashlet Prime 5 ‐ HashletPrime 5 for $249.75 each




Subtotal : $249.75 USD
Total : $249.75 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 26 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Monday, October 6, 2014 3:00 AM
To:                  imartinhorton@gmail.com
Subject:             Order confirmation for order #52257


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 10/06/2014

 Billing address
  Martin Horton


  United Kingdom

1x Hashlet Prime 15 ‐ HashletPrime 15 for $749.25 each




Subtotal : $749.25 USD
Total : $749.25 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 27 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Monday, October 20, 2014 8:41 AM
To:                  imartinhorton@gmail.com
Subject:             Order confirmation for order #56629


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 10/20/2014

 Billing address
  Martin Horton


  United Kingdom

1x Zen Hashlet 50 for $897.50 each




Subtotal : $897.50 USD
Total : $897.50 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 28 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Wednesday, November 5, 2014 10:24 AM
To:                  imartinhorton@gmail.com
Subject:             Order confirmation for order #59752


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 11/05/2014

 Billing address
  Martin Horton


  United Kingdom

1x Hashlet Genesis 1000 for $695.00 each




Subtotal : $695.00 USD
Total : $695.00 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 29 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Wednesday, November 5, 2014 10:33 AM
To:                  imartinhorton@gmail.com
Subject:             Order confirmation for order #59755


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 11/05/2014

 Billing address
  Martin Horton


  United Kingdom

2x Zen Hashlet 1 for $14.95 each

1x Zen Hashlet 5 for $74.75 each



Discount (code: SLT46VCNDTBLYW): $‐100.00 USD Subtotal : $4.65 USD
Total : $4.65 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 30 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Monday, August 18, 2014 5:59 AM
To:                  michael.viklund@gmail.com
Subject:             Order confirmation for order #24874


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 08/18/2014

 Billing address
  Michael Viklund


  Sweden

2x Hashlet 5 ‐ Hashlet 5 for $79.99 each




Subtotal : $159.98 USD
Total : $159.98 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 31 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Monday, August 18, 2014 5:59 AM
To:                  michael.viklund@gmail.com
Subject:             Order confirmation for order #24874


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 08/18/2014

 Billing address
  Michael Viklund


  Sweden

2x Hashlet 5 ‐ Hashlet 5 for $79.99 each




Subtotal : $159.98 USD
Total : $159.98 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 32 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Thursday, August 21, 2014 5:29 AM
To:                  michael.viklund@gmail.com
Subject:             Order confirmation for order #26588


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 08/21/2014

 Billing address
  Michael Viklund


  Sweden

2x Hashlet 5 ‐ Hashlet 5 for $79.99 each




Subtotal : $159.98 USD
Total : $159.98 USD




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Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 34 of 70
               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 35 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Sunday, August 24, 2014 12:02 PM
To:                  michael.viklund@gmail.com
Subject:             Order confirmation for order #28891


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 08/24/2014

 Billing address
  Michael Viklund


  Sweden

2x Hashlet 1 ‐ Hashlet 1 for $15.99 each



Discount (code: SL4RMYFFBWTDFJ): $‐20.00 USD Subtotal : $11.98 USD
Total : $11.98 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 36 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Wednesday, September 10, 2014 2:08 PM
To:                  michael.viklund@gmail.com
Subject:             Order confirmation for order #39878


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 09/10/2014

 Billing address
  Michael Viklund


  Sweden

1x Zen Hashlet 5 for $104.75 each




Subtotal : $104.75 USD
Total : $104.75 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 37 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Friday, November 28, 2014 1:49 PM
To:                  michael.viklund@gmail.com
Subject:             Order confirmation for order #63839


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 11/28/2014

 Billing address
  Michael Viklund


  Sweden

2x HashStaker 5 ‐ 6 Month Container for $89.75 each




Subtotal : $179.50 USD
Total : $179.50 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 38 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Friday, November 28, 2014 2:22 PM
To:                  michael.viklund@gmail.com
Subject:             Order confirmation for order #63879


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 11/28/2014

 Billing address
  Michael Viklund


  Sweden

1x HashStaker 5 ‐ 6 Month Container for $89.75 each




Subtotal : $89.75 USD
Total : $89.75 USD




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               Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 39 of 70


Colin Watterson

From:                GAW Miners <orders@gawminers.com>
Sent:                Tuesday, December 2, 2014 1:38 AM
To:                  michael.viklund@gmail.com
Subject:             Order confirmation for order #65078


Thank you for placing your order with GAW Miners!

This email is to confirm your recent order.

 Date 12/02/2014

 Billing address
  Michael Viklund


  Sweden

2x HashStaker 5 ‐ 6 Month Container for $89.75 each




Subtotal : $179.50 USD
Total : $179.50 USD




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Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 40 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 41 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 42 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 43 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 44 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 45 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 46 of 70
Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 47 of 70
5/1/2019             Case 3:16-cv-00940-MPS DocumentGAW00364049.html
                                                     140-3 Filed 05/03/19 Page 48 of 70
 x-store-info:J++/JTCzmObr++wNraA4Pa4f5Xd6uensxNRGNyaWNyfrbADxdIjR2RA95/eZeIRBMRzxORm19/O2hbxaAsWwQTPpVOkw23xZ1DOro2yYFY/JGwVVWq3J4z9XC1ExQocCQaiJ9Brc0XQ=
 Authentication-Results: hotmail.com; spf=none (sender IP is 204.93.213.119) smtp.mailfrom=orders@gawminers.com; dkim=none header.d=gawminers.com; x-hmca=no
 X-SID-PRA: orders@gawminers.com
 X-AUTH-Result: NONE
 X-SID-Result: NONE
 X-Message-Status: n:n
 X-Message-Delivery: Vj0xLjE7dXM9MDtsPTE7YT0xO0Q9MTtHRD0xO1NDTD0w
 X-Message-Info: NhFq/7gR1vTNbxKK9BIiBOC1T/q1xOmDlOG9mIIET3fnTWe2KOihOp0Y7ukdsY5YccIGDUDASsPF3mVSUxoaECAzqfxuh+76TrKRuDTrwQ8TKwTKqz/onJvuN1MePdNMXzMXs16DhwM
 Received: from smtp.shopify.com ([204.93.213.119]) by BAY004-MC1F52.hotmail.com over TLS secured channel with Microsoft SMTPSVC(7.5.7601.22712);
          Mon, 18 Aug 2014 14:31:11 -0700
 Received: from jobs11.chi.shopify.com (jobs11.chi.shopify.com [172.16.1.45])
         by smtp.shopify.com (Postfix) with ESMTPS id 12F5243792
         for <hoppenfeld@hotmail.com>; Mon, 18 Aug 2014 21:31:11 +0000 (UTC)
 DKIM-Signature: v=1; a=rsa-sha256; c=simple/simple; d=shopify.com; s=mail;
         t=1408397471; bh=270Y1cYWSssc1p+tUAG+REG4TrWNwLO8JZuJr7fdpB4=;
         h=Date:From:To:Message-ID:Subject;
         b=AB2zcTZ0KlyTocPKigwIrmlMWNGbzrloarM6sFwUDBId7cFtIAFiZE9KvN8oF+zAO
          8cr/aHkF4ZTI0oG877iRHx8WKgvdlnJ64cTSBIGds+b3SZp5RglNPyZZBSu2To2zG9
          ObfsdZrfj4xZ+9PbFVpdwtzgjxlAvko0aFF4PUi8=
 Received: by jobs11.chi.shopify.com (Postfix, from userid 8002)
         id 10929A09CD; Mon, 18 Aug 2014 21:31:11 +0000 (UTC)
 Date: Mon, 18 Aug 2014 21:31:10 +0000
 From: GAW Miners <orders@gawminers.com>
 To: hoppenfeld@hotmail.com
 Message-ID: <53f2709ef3c97_5c393fbfc6763318330c4@jobs11.chi.shopify.com.mail>
 Subject: Order confirmation for order #25151
 Mime-Version: 1.0
 Content-Type: text/plain;
  charset=UTF-8
 Content-Transfer-Encoding: 7bit
 Return-Path: orders@gawminers.com
 X-OriginalArrivalTime: 18 Aug 2014 21:31:12.0050 (UTC) FILETIME=[BB7C3120:01CFBB2B]

 Thank you for placing your order with GAW Miners!

 This email is to confirm your recent order.

   Date 08/18/2014

   Billing address
     Robert Hoppenfeld


     United States

 2x Hashlet 5 - Hashlet 5 for $79.99 each



 Discount (code: WELCOMETOGAW): $-10.00 USD
 Subtotal : $149.98 USD
 Total     : $149.98 USD




file:///C:/users/cwatterson/Work Folders/Desktop/20 investor documentation/Robert Alan Hoppenfeld/GAW00364049.html                                      1/1
                                                                                 Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 49 of 70
              x-store-info:J++/JTCzmObr++wNraA4Pa4f5Xd6uensxNRGNyaWNydIUEA48m3u0ow13KNv+AiyNFdJ0xxbYGypRSDWAzD8nJk46Nfg1/ooYAqbSWg2B0L25CEMLfAGzjt86dOdbQ0x35fGgmW6WeU=
              Authentication-Results: hotmail.com; spf=none (sender IP is 204.93.213.119) smtp.mailfrom=orders@gawminers.com; dkim=none header.d=gawminers.com; x-hmca=none header.id=orders@gawminers.com
              X-SID-PRA: orders@gawminers.com
              X-AUTH-Result: NONE
              X-SID-Result: NONE
              X-Message-Status: n:n
              X-Message-Delivery: Vj0xLjE7dXM9MDtsPTE7YT0xO0Q9MTtHRD0xO1NDTD0w
              X-Message-Info:
              NhFq/7gR1vQkF6JRnCKLsvG8ooo9b/ga3cRIGDycjjvdbVqjG3R23e9HxMrXE6xmV5FNxq/F/+32843eH/7VFR9ZLYUv0aleieFrove3KXSGa/00G3J2JMTa6FIGL5lvX4CEawqYm4ClcpSZetBhfwt2dwuJHu2EIs2S7lUWnRKZ9vpnh8x47lsi1FQPRu8WoaJN9weZfb061eLRVOTMCVvvMU87EbIt
              Received: from smtp.shopify.com ([204.93.213.119]) by COL004-MC6F5.hotmail.com over TLS secured channel with Microsoft SMTPSVC(7.5.7601.22712);
                       Mon, 18 Aug 2014 14:45:08 -0700
              Received: from jobs11.chi.shopify.com (jobs11.chi.shopify.com [172.16.1.45])
                      by smtp.shopify.com (Postfix) with ESMTPS id 2F5C1104C63
                      for <hoppenfeld@hotmail.com>; Mon, 18 Aug 2014 21:45:08 +0000 (UTC)
              DKIM-Signature: v=1; a=rsa-sha256; c=simple/simple; d=shopify.com; s=mail;
                      t=1408398308; bh=dno5fogbMSyqxtr1jntxWYLf7GRbOhNml0P4jXNzpDY=;
                      h=Date:From:To:Message-ID:Subject;
                      b=RoIHnMEtdegBwUzzK7mFoUashIGZa61DHruNGpJoLyCcRDcdlZp0o9PgBoZQs/a9z
                       SABk14GLrstopQ8BabNNWUxpot5eev6/65OE3tlWz1c2yyGQ45gi5zmQOdZm28Wk9J
                       fJ/kXT750dmb0+RZGMczzESmsejs1TQ8CTzfPOk0=
              Received: by jobs11.chi.shopify.com (Postfix, from userid 8002)
                      id 2D0E5A09CD; Mon, 18 Aug 2014 21:45:08 +0000 (UTC)
              Date: Mon, 18 Aug 2014 21:45:08 +0000
              From: GAW Miners <orders@gawminers.com>
              To: hoppenfeld@hotmail.com
              Message-ID: <53f273e4204a6_63513fc1db60732c586ec@jobs11.chi.shopify.com.mail>
              Subject: Order confirmation for order #25156
              Mime-Version: 1.0
              Content-Type: text/plain;
               charset=UTF-8
              Content-Transfer-Encoding: 7bit
              Return-Path: orders@gawminers.com
              X-OriginalArrivalTime: 18 Aug 2014 21:45:08.0893 (UTC) FILETIME=[AE484CD0:01CFBB2D]
              Thank you for placing your order with GAW Miners!
              This email is to confirm your recent order.
                 Date 08/18/2014
                 Billing address


                    United States
              1x Hashlet 15 - Hashlet 15 for $239.99 each


              Discount (code: SLG25KAN5XAS49): $-225.00 USD
              Subtotal : $14.99 USD
              Total     : $14.99 USD




file ///C/users/cwatterson/Work%20Folders/Desktop/20%20investor%20documentation/Robert%20Alan%20Hoppenfeld/GAW00364050.html[5/1/2019 10 28 15 PM]
                                                                                 Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 50 of 70
              x-store-info:J++/JTCzmObr++wNraA4Pa4f5Xd6uensxNRGNyaWNyd05BR2wCvBRjq1LuogMJ+jxX+ZF5kaKRoM7pUGVX07hGO8HAiZu7J1hHE0r1hOAAbiiq8HnPvt+P+zkI1wMDnPXF2HvQ84s3g=
              Authentication-Results: hotmail.com; spf=none (sender IP is 204.93.213.119) smtp.mailfrom=orders@gawminers.com; dkim=none header.d=gawminers.com; x-hmca=none header.id=orders@gawminers.com
              X-SID-PRA: orders@gawminers.com
              X-AUTH-Result: NONE
              X-SID-Result: NONE
              X-Message-Status: n:n
              X-Message-Delivery: Vj0xLjE7dXM9MDtsPTE7YT0xO0Q9MTtHRD0xO1NDTD0w
              X-Message-Info:
              NhFq/7gR1vS4W55s+ZyoGc7eKfi97VYeP6VMeLB1S/lvhnjyVY3lBcLcE5pariLPxnYhzEYL2OP+V1Jw1H+EPCnIq1VZMVoEYXpt4HaJIas025FeHdHJfoXU8jPH51Hqbm9vDxMOA5a5FZ1JXPoB1QmPHjqjBdWfmLz35hqPSpXBmNQfASBfYwMorXxXN/P0nPyI4qGpUno1mH6nRbEtwYWkxcfb3Lk+
              Received: from smtp.shopify.com ([204.93.213.119]) by COL004-MC5F29.hotmail.com over TLS secured channel with Microsoft SMTPSVC(7.5.7601.22712);
                       Fri, 22 Aug 2014 20:47:38 -0700
              Received: from jobs12.chi.shopify.com (jobs12.chi.shopify.com [172.16.1.50])
                      by smtp.shopify.com (Postfix) with ESMTPS id 47143436C1
                      for <hoppenfeld@hotmail.com>; Sat, 23 Aug 2014 03:47:38 +0000 (UTC)
              DKIM-Signature: v=1; a=rsa-sha256; c=simple/simple; d=shopify.com; s=mail;
                      t=1408765658; bh=2viE+gcqSf2S5BqrESOaIu9M6gaAV3PT9ajF7eWjAMk=;
                      h=Date:From:To:Message-ID:Subject;
                      b=Cyk62uyhkvOkcdd7fih6pjyV+A6c0ZnXO5uDuIne0Vwj/MM5Z0c25uQSOMKIgDN04
                       dw5aIDPa7dp/Ijx9fQVtSqTNR/ST+QjQ2eMmgPGw/Bn93VOLBbTtJC6e+1OaxtF0pX
                       +LElCmVc0Ea+DmlI+oiERltftPmLHdJTkjQ6Czjk=
              Received: by jobs12.chi.shopify.com (Postfix, from userid 8002)
                      id 3C86D81013; Sat, 23 Aug 2014 03:47:38 +0000 (UTC)
              Date: Sat, 23 Aug 2014 03:47:38 +0000
              From: GAW Miners <orders@gawminers.com>
              To: hoppenfeld@hotmail.com
              Message-ID: <53f80eda33576_1e983ffe6dbf33341871d@jobs12.chi.shopify.com.mail>
              Subject: Order confirmation for order #27842
              Mime-Version: 1.0
              Content-Type: text/plain;
               charset=UTF-8
              Content-Transfer-Encoding: 7bit
              Return-Path: orders@gawminers.com
              X-OriginalArrivalTime: 23 Aug 2014 03:47:38.0869 (UTC) FILETIME=[FBEE4250:01CFBE84]
              Thank you for placing your order with GAW Miners!
              This email is to confirm your recent order.
                 Date 08/22/2014
                 Billing address


                    United States
              2x Hashlet 5 - Hashlet 5 for $79.99 each


              Discount (code: WELCOMETOGAW): $-10.00 USD
              Subtotal : $149.98 USD
              Total     : $149.98 USD




file ///C/users/cwatterson/Work%20Folders/Desktop/20%20investor%20documentation/Robert%20Alan%20Hoppenfeld/GAW00364051.html[5/1/2019 10 28 51 PM]
                                                                                 Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 51 of 70
              x-store-info:J++/JTCzmObr++wNraA4Pa4f5Xd6uensxNRGNyaWNyccJwRSjlGnOEvxVdF0jc5fy08o910RQwROH5dZg4gLiavAUF0H3g5yQCUAB5B9shvSGkboJtZL24LhWbHXUdRlbthOuRds4UA=
              Authentication-Results: hotmail.com; spf=none (sender IP is 204.93.213.119) smtp.mailfrom=orders@gawminers.com; dkim=none header.d=gawminers.com; x-hmca=none header.id=orders@gawminers.com
              X-SID-PRA: orders@gawminers.com
              X-AUTH-Result: NONE
              X-SID-Result: NONE
              X-Message-Status: n:n
              X-Message-Delivery: Vj0xLjE7dXM9MDtsPTE7YT0xO0Q9MTtHRD0xO1NDTD0w
              X-Message-Info:
              NhFq/7gR1vSUQLBC650I0Fkv1NxWBs29zRiwLQaDpMJPdqRWnxtCcmGZ4+s7G13/ysfKxnBEcqOhUfzphlNgx3pstuSVVe9f1EmyWuIR4fxitcf6GriZ57PdHsU5sner+cDvuviUZWo8VEgPzOfuQRMAlHFARjSmz3DcpMzDPXsV3ITwLEP1WnG0ik3ueLY1OKxdJROqdi1AFUQex9ASYBNVbrC59q4o
              Received: from smtp.shopify.com ([204.93.213.119]) by COL004-MC4F1.hotmail.com over TLS secured channel with Microsoft SMTPSVC(7.5.7601.22712);
                       Sun, 24 Aug 2014 07:26:06 -0700
              Received: from jobs9.chi.shopify.com (jobs9.chi.shopify.com [172.16.1.231])
                      by smtp.shopify.com (Postfix) with ESMTPS id 3C51342C96
                      for <hoppenfeld@hotmail.com>; Sun, 24 Aug 2014 14:26:06 +0000 (UTC)
              DKIM-Signature: v=1; a=rsa-sha256; c=simple/simple; d=shopify.com; s=mail;
                      t=1408890366; bh=jIxMhX8e6B6z/puL3sKwXgaWk4SuFZDQUNY+/71DDGY=;
                      h=Date:From:To:Message-ID:Subject;
                      b=M1O3u1luG6QYlsGcvvRl6gcC1IoUn9zTDSJoEmdSJ1qDZTDMkfivL+q102Pd64QdH
                       g6qHo55JfIlbLZ5clYK4vaPJ0wZk6ejCLjeV6Rtf+MiQasawsedXZk3/EjkFjji8M2
                       XVGPE0VTHS2wx+Omk2uJ7bJBoEwTuJAf4ZpyqWuQ=
              Received: by jobs9.chi.shopify.com (Postfix, from userid 8002)
                      id 39E8EA0678; Sun, 24 Aug 2014 14:26:06 +0000 (UTC)
              Date: Sun, 24 Aug 2014 14:26:06 +0000
              From: GAW Miners <orders@gawminers.com>
              To: hoppenfeld@hotmail.com
              Message-ID: <53f9f5fe2e692_9573f88eb235330763e7@jobs9.chi.shopify.com.mail>
              Subject: Order confirmation for order #28755
              Mime-Version: 1.0
              Content-Type: text/plain;
               charset=UTF-8
              Content-Transfer-Encoding: 7bit
              Return-Path: orders@gawminers.com
              X-OriginalArrivalTime: 24 Aug 2014 14:26:07.0022 (UTC) FILETIME=[57C844E0:01CFBFA7]
              Thank you for placing your order with GAW Miners!
              This email is to confirm your recent order.
                 Date 08/24/2014
                 Billing address


                    United States
              2x Hashlet 5 - Hashlet 5 for $79.99 each


              Discount (code: WELCOMETOGAW): $-10.00 USD
              Subtotal : $149.98 USD
              Total     : $149.98 USD




file ///C/users/cwatterson/Work%20Folders/Desktop/20%20investor%20documentation/Robert%20Alan%20Hoppenfeld/GAW00364052.html[5/1/2019 10 29 25 PM]
                                                                                 Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 52 of 70
              x-store-info:J++/JTCzmObr++wNraA4Pa4f5Xd6uensxNRGNyaWNydQwm5x26ksd1k6dXkLzaM7MgS5Z2EJNo3QRPmDlZyILtDkHjbIMx8FGWIw8HFE+whoQmzJTA7oIT9CNLJbz9JO0jcUwnKDiKQ=
              Authentication-Results: hotmail.com; spf=none (sender IP is 204.93.213.119) smtp.mailfrom=orders@gawminers.com; dkim=none header.d=gawminers.com; x-hmca=none header.id=orders@gawminers.com
              X-SID-PRA: orders@gawminers.com
              X-AUTH-Result: NONE
              X-SID-Result: NONE
              X-Message-Status: n:n
              X-Message-Delivery: Vj0xLjE7dXM9MDtsPTE7YT0xO0Q9MTtHRD0xO1NDTD0w
              X-Message-Info:
              NhFq/7gR1vQhuvi3NX+DFFBk5nzCC3r7132keRHgYhsJqWg8miIFXYcvKAt0a9c08WE7S6VPyURTefPcnbK8XjAn9PUnajXISz8AdT53HMlNVbGCZHKisuI8QI0mK+Hjmd+WmkNViDPhjVYbdAAiYd5pPfBzBZu8cdacZfIBPSVyU6vIt/zPKFvdkNJCT266ThyMl6OCXT5Kn7v/BeEwIs7R6EthLhPp
              Received: from smtp.shopify.com ([204.93.213.119]) by BAY004-MC5F25.hotmail.com over TLS secured channel with Microsoft SMTPSVC(7.5.7601.22712);
                       Sun, 24 Aug 2014 08:23:42 -0700
              Received: from jobs10.chi.shopify.com (jobs10.chi.shopify.com [172.16.1.91])
                      by smtp.shopify.com (Postfix) with ESMTPS id 56318103090
                      for <hoppenfeld@hotmail.com>; Sun, 24 Aug 2014 15:23:42 +0000 (UTC)
              DKIM-Signature: v=1; a=rsa-sha256; c=simple/simple; d=shopify.com; s=mail;
                      t=1408893822; bh=jIxMhX8e6B6z/puL3sKwXgaWk4SuFZDQUNY+/71DDGY=;
                      h=Date:From:To:Message-ID:Subject;
                      b=rh5DnHX2SlLWQDO5IZ6zm+JnjfOsP4v0QP8dNQ0t/XSHC7xoPZrBpP0BLffCC9dzq
                       GzwL2DOu26/CO8ckNhOrbQgCrCP5KMsbIYXCu41miBtTSJjcj8Rstn3p+UToaQoIrd
                       36iSEJOUzv+MOgfNYPDKgcAgJScb8A/ifn/2l8hw=
              Received: by jobs10.chi.shopify.com (Postfix, from userid 8002)
                      id 5408060459; Sun, 24 Aug 2014 15:23:42 +0000 (UTC)
              Date: Sun, 24 Aug 2014 15:23:42 +0000
              From: GAW Miners <orders@gawminers.com>
              To: hoppenfeld@hotmail.com
              Message-ID: <53fa037e48a2c_2fe33fd3d5481334489ac@jobs10.chi.shopify.com.mail>
              Subject: Order confirmation for order #28804
              Mime-Version: 1.0
              Content-Type: text/plain;
               charset=UTF-8
              Content-Transfer-Encoding: 7bit
              Return-Path: orders@gawminers.com
              X-OriginalArrivalTime: 24 Aug 2014 15:23:43.0094 (UTC) FILETIME=[63C30160:01CFBFAF]
              Thank you for placing your order with GAW Miners!
              This email is to confirm your recent order.
                 Date 08/24/2014
                 Billing address


                    United States
              2x Hashlet 5 - Hashlet 5 for $79.99 each


              Discount (code: WELCOMETOGAW): $-10.00 USD
              Subtotal : $149.98 USD
              Total     : $149.98 USD




file ///C/users/cwatterson/Work%20Folders/Desktop/20%20investor%20documentation/Robert%20Alan%20Hoppenfeld/GAW00364053.html[5/1/2019 10 29 46 PM]
                                                                                 Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 53 of 70
              x-store-info:J++/JTCzmObr++wNraA4Pa4f5Xd6uensxNRGNyaWNydL1qabMSZErRPj0118UEsBPyjsXyuvxfSVs+AIF/W0OOlkHx3giy7wdJv7f1OUMr7Fzai9dUovTRk9KIXGpcUKTOKsUOhRf5I=
              Authentication-Results: hotmail.com; spf=none (sender IP is 204.93.213.119) smtp.mailfrom=orders@gawminers.com; dkim=none header.d=gawminers.com; x-hmca=none header.id=orders@gawminers.com
              X-SID-PRA: orders@gawminers.com
              X-AUTH-Result: NONE
              X-SID-Result: NONE
              X-Message-Status: n:n
              X-Message-Delivery: Vj0xLjE7dXM9MDtsPTE7YT0xO0Q9MTtHRD0xO1NDTD0w
              X-Message-Info:
              NhFq/7gR1vQDL73Sti6nzCPMEBkFg78/ojT+W5cOEh6exYMQrMR+7EYa7E1Q0OKJ+r4AKiJ2CGZisovOTSIbYHyi5YzxPRPffeuP3+iNrjgF+R36fD7rY2UsH6HQyyhVXfirt/e7FNML4tepbendTde3ndof1BStNjX2QQnL/KMbyy5EQIB11LuavoZuBCFcQ9ed5iLzAw9nLtWA0UdyUtoA3gxcUZqv
              Received: from smtp.shopify.com ([204.93.213.119]) by BAY004-MC1F52.hotmail.com over TLS secured channel with Microsoft SMTPSVC(7.5.7601.22712);
                       Sun, 24 Aug 2014 08:49:11 -0700
              Received: from jobs14.chi.shopify.com (jobs14.chi.shopify.com [172.16.1.118])
                      by smtp.shopify.com (Postfix) with ESMTPS id A0520100E50
                      for <hoppenfeld@hotmail.com>; Sun, 24 Aug 2014 15:49:10 +0000 (UTC)
              DKIM-Signature: v=1; a=rsa-sha256; c=simple/simple; d=shopify.com; s=mail;
                      t=1408895350; bh=jIxMhX8e6B6z/puL3sKwXgaWk4SuFZDQUNY+/71DDGY=;
                      h=Date:From:To:Message-ID:Subject;
                      b=Hy/9d8rNqJ0r74zXDZm8FEQGOUBvkpE/kZwdg3Pl8SsHtmcuAhJT6h1zBCKPQT0b7
                       ZlVlV6CpOvucq3uAoRTYTaFhaBnz/dLm16qYM1RKz+eHHE+J7wLsfOwdhHnBKG9Sfl
                       JXCOe+NqSaoCO4gBK+BFJiV2yZYX5j+qxnxnP+vQ=
              Received: by jobs14.chi.shopify.com (Postfix, from userid 8002)
                      id 95DCB20846; Sun, 24 Aug 2014 15:49:10 +0000 (UTC)
              Date: Sun, 24 Aug 2014 15:49:10 +0000
              From: GAW Miners <orders@gawminers.com>
              To: hoppenfeld@hotmail.com
              Message-ID: <53fa09768b4c2_3c5e3f8e934b5314603e3@jobs14.chi.shopify.com.mail>
              Subject: Order confirmation for order #28831
              Mime-Version: 1.0
              Content-Type: text/plain;
               charset=UTF-8
              Content-Transfer-Encoding: 7bit
              Return-Path: orders@gawminers.com
              X-OriginalArrivalTime: 24 Aug 2014 15:49:11.0683 (UTC) FILETIME=[F2DF2D30:01CFBFB2]
              Thank you for placing your order with GAW Miners!
              This email is to confirm your recent order.
                 Date 08/24/2014
                 Billing address


                    United States
              2x Hashlet 5 - Hashlet 5 for $79.99 each


              Discount (code: WELCOMETOGAW): $-10.00 USD
              Subtotal : $149.98 USD
              Total     : $149.98 USD




file ///C/users/cwatterson/Work%20Folders/Desktop/20%20investor%20documentation/Robert%20Alan%20Hoppenfeld/GAW00364054.html[5/1/2019 10 30 06 PM]
                                                                                 Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 54 of 70
              x-store-info:J++/JTCzmObr++wNraA4Pa4f5Xd6uensxNRGNyaWNycBP2SZu4yPZ8pyFstyuDPnAYHZcZhVhqTQq7Ibjf3z3D8VB2lEIzMj6xDVqaa3uZdi8iAEwXdowufUnmjyTxt1gwEPFXCOssA=
              Authentication-Results: hotmail.com; spf=none (sender IP is 204.93.213.119) smtp.mailfrom=orders@gawminers.com; dkim=none header.d=gawminers.com; x-hmca=none header.id=orders@gawminers.com
              X-SID-PRA: orders@gawminers.com
              X-AUTH-Result: NONE
              X-SID-Result: NONE
              X-Message-Status: n:n
              X-Message-Delivery: Vj0xLjE7dXM9MDtsPTE7YT0xO0Q9MTtHRD0xO1NDTD0w
              X-Message-Info:
              NhFq/7gR1vSUQLBC650I0FbvuStCrpN739yK1ubdEUW4Q0Vt/eVgJso/yCBLdGKYC6ZZ7CfVjslrdB37fU/ldH8xULrfnM2yXO5vpbgZGHBv/dxH9XxevB4zs9j0ra3cmQzUMES5os6R6HhOOuqnE9oUMf1jKZyhjTyOKTocMwjxU73+vP0iv1fzPKDeNubI5ijCYKpeejFYl8TqWiCAzZ4uqKyKmTEw
              Received: from smtp.shopify.com ([204.93.213.119]) by COL004-MC3F36.hotmail.com over TLS secured channel with Microsoft SMTPSVC(7.5.7601.22712);
                       Tue, 26 Aug 2014 10:51:22 -0700
              Received: from jobs14.chi.shopify.com (jobs14.chi.shopify.com [172.16.1.118])
                      by smtp.shopify.com (Postfix) with ESMTPS id B2F4A100F3C
                      for <hoppenfeld@hotmail.com>; Tue, 26 Aug 2014 17:51:21 +0000 (UTC)
              DKIM-Signature: v=1; a=rsa-sha256; c=simple/simple; d=shopify.com; s=mail;
                      t=1409075481; bh=6JNiE3tg/5sdpAF4kkHxi/VkF4xhFoiJbr77Bt+dTlM=;
                      h=Date:From:To:Message-ID:Subject;
                      b=gFNpSmYfR4JecgJ1F/0+xbOJ/kpRgGu1GCbbcfPp2B9F31irRoq3w2lXdyCVEIGT+
                       VieMQu1K04qCA/dToXaj90yu2O145DSdOF/ys9dY7RVgL3ttTxWDFTz+DTlsstcDI6
                       0EPHDakwS5cORAtwyGOa7nTuHYVyCKYjSzA2E9GI=
              Received: by jobs14.chi.shopify.com (Postfix, from userid 8002)
                      id AXXXXXXXX; Tue, 26 Aug 2014 17:51:21 +0000 (UTC)
              Date: Tue, 26 Aug 2014 17:51:21 +0000
              From: GAW Miners <orders@gawminers.com>
              To: hoppenfeld@hotmail.com
              Message-ID: <53fcc91984fac_26d43fb566ca13307392d@jobs14.chi.shopify.com.mail>
              Subject: Order confirmation for order #30268
              Mime-Version: 1.0
              Content-Type: text/plain;
               charset=UTF-8
              Content-Transfer-Encoding: 7bit
              Return-Path: orders@gawminers.com
              X-OriginalArrivalTime: 26 Aug 2014 17:51:22.0600 (UTC) FILETIME=[5943D680:01CFC156]
              Thank you for placing your order with GAW Miners!
              This email is to confirm your recent order.
                 Date 08/26/2014
                 Billing address


                    United States
              2x Hashlet 100 - Hashlet 100 for $1,999.99 each



              Subtotal      : $3,999.98 USD
              Total         : $3,999.98 USD




file ///C/users/cwatterson/Work%20Folders/Desktop/20%20investor%20documentation/Robert%20Alan%20Hoppenfeld/GAW00364055.html[5/1/2019 10 30 24 PM]
                                                                                 Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 55 of 70
              x-store-info:J++/JTCzmObr++wNraA4Pa4f5Xd6uensxNRGNyaWNyfW+U4GLKuMpwu9zKkWtaaCcgf29rODHEu8riie3oQ9l9KOO4LiNehXhVLPvdzPGXvuwT4K27I7Ckgy9b8tA0wKwyguuPnIWVs=
              Authentication-Results: hotmail.com; spf=none (sender IP is 204.93.213.119) smtp.mailfrom=orders@gawminers.com; dkim=none header.d=gawminers.com; x-hmca=none header.id=orders@gawminers.com
              X-SID-PRA: orders@gawminers.com
              X-AUTH-Result: NONE
              X-SID-Result: NONE
              X-Message-Status: n:n
              X-Message-Delivery: Vj0xLjE7dXM9MDtsPTE7YT0xO0Q9MTtHRD0xO1NDTD0w
              X-Message-Info:
              NhFq/7gR1vSrNenVdZDcac+uT8PA2S0zhWQVGGQwGo+784BpW0GFEo4JQu2LTKuX6uYmO0//O3gYnppGVbs+qVW6q4g609Ae25E9slAYVKpB0ccAeGKj0nqbW8q/RD4+buOvb76jTzCkY5hrQUIJAVVBKy7kP1D5nuv00G1Gbok+83KTVekERG8606PRAQ5kTARyc3SgJeXZiagK/Z9vTbmfGNZy42Lc
              Received: from smtp.shopify.com ([204.93.213.119]) by BAY004-MC3F37.hotmail.com over TLS secured channel with Microsoft SMTPSVC(7.5.7601.22712);
                       Tue, 26 Aug 2014 10:54:38 -0700
              Received: from jobs14.chi.shopify.com (jobs14.chi.shopify.com [172.16.1.118])
                      by smtp.shopify.com (Postfix) with ESMTPS id 8954643172
                      for <hoppenfeld@hotmail.com>; Tue, 26 Aug 2014 17:54:37 +0000 (UTC)
              DKIM-Signature: v=1; a=rsa-sha256; c=simple/simple; d=shopify.com; s=mail;
                      t=1409075677; bh=8xS9hAKzlz9MqHL4h8U/rdBI2yJBUhIzFA/tiLd1Tm0=;
                      h=Date:From:To:Message-ID:Subject;
                      b=OjjWvRc/llO5ZIYgPxg35xPZbsH8p5TKP0a5m7bXp8hOk2sBxmvnSYPmKB3Q4iXvP
                       FOpQFmxabCBkqJO0l6drpXSunaKdmWrU+cJDPXSBcPTfvGo+EWEZDvpY12Nr3dfHZh
                       1QUgEDmKgFGFP9GFrFRGITfXweWXmaZ46+miySv4=
              Received: by jobs14.chi.shopify.com (Postfix, from userid 8002)
                      id 8578320846; Tue, 26 Aug 2014 17:54:37 +0000 (UTC)
              Date: Tue, 26 Aug 2014 17:54:37 +0000
              From: GAW Miners <orders@gawminers.com>
              To: hoppenfeld@hotmail.com
              Message-ID: <53fcc9dd775f2_41343fe4f6b05318866b8@jobs14.chi.shopify.com.mail>
              Subject: Order confirmation for order #30271
              Mime-Version: 1.0
              Content-Type: text/plain;
               charset=UTF-8
              Content-Transfer-Encoding: 7bit
              Return-Path: orders@gawminers.com
              X-OriginalArrivalTime: 26 Aug 2014 17:54:38.0462 (UTC) FILETIME=[CE0201E0:01CFC156]
              Thank you for placing your order with GAW Miners!
              This email is to confirm your recent order.
                 Date 08/26/2014
                 Billing address


                    United States
              1x Hashlet 1 - Hashlet 1 for $19.99 each



              Subtotal      : $19.99 USD
              Total         : $19.99 USD




file ///C/users/cwatterson/Work%20Folders/Desktop/20%20investor%20documentation/Robert%20Alan%20Hoppenfeld/GAW00364056.html[5/1/2019 10 30 47 PM]
                                                                                 Case 3:16-cv-00940-MPS Document 140-3 Filed 05/03/19 Page 56 of 70
              x-store-info:J++/JTCzmObr++wNraA4Pa4f5Xd6uensxNRGNyaWNychVL3tpUfoF+rI/88Z2xC/FwItiub0CroeMC5ByzOmuq3BNdqKnCAUYIIewVIBjHuSSllngDXfSi6WtNW7EkyYqvNB+hCdyc0=
              Authentication-Results: hotmail.com; spf=none (sender IP is 204.93.213.119) smtp.mailfrom=orders@gawminers.com; dkim=none header.d=gawminers.com; x-hmca=none header.id=orders@gawminers.com
              X-SID-PRA: orders@gawminers.com
              X-AUTH-Result: NONE
              X-SID-Result: NONE
              X-Message-Status: n:n
              X-Message-Delivery: Vj0xLjE7dXM9MDtsPTE7YT0xO0Q9MTtHRD0xO1NDTD0w
              X-Message-Info:
              NhFq/7gR1vTfihg0QheF443bBo9gFQIi8As8Ue8YvdQ1Ofl+zTIbIhoHZyXqLKDTxTld6w/aZu9JL1Yjwuy0ZEMHlbTHB2S9TlAF+O24OrviDxl23Qs1/mneAM2g6a+LlHdXT2b2JxuFR8YJ7GCV50U0v4A676d9gKc5Lc1v3xUiKRkqQYkjkEoZLEUJBK5x4HIOheLFPkGqspO9qYi1q/cd1M7vh+3W
              Received: from smtp.shopify.com ([204.93.213.119]) by SNT004-MC4F38.hotmail.com over TLS secured channel with Microsoft SMTPSVC(7.5.7601.22712);
                       Sat, 27 Sep 2014 09:23:17 -0700
              Received: from jobs20.chi.shopify.com (jobs20.chi.shopify.com [172.16.1.51])
                      by smtp.shopify.com (Postfix) with ESMTPS id AD145100B93
                      for <hoppenfeld@hotmail.com>; Sat, 27 Sep 2014 16:23:16 +0000 (UTC)
              DKIM-Signature: v=1; a=rsa-sha256; c=simple/simple; d=shopify.com; s=mail;
                      t=1411834996; bh=Y9JUGKFiZP4Gg6P8yiY91bbzGqlNoFzViMz/iifAGVA=;
                      h=Date:From:To:Message-ID:Subject;
                      b=YS3F+husuuU2ds6mXucAiRj40TK1x9siLUeLUWtssIgTOhZsr1CleK3EQkrtYS10u
                       Zh1sTq/PcpRARFSztO0aw13xBQr/9o6xkq+vJNs+CpwK9mq3vWThBIhxEBOIKU9t75
                       PgwdDkXn+hauClwy6VOl3ADD46viaruL32oS2MzI=
              Received: by jobs20.chi.shopify.com (Postfix, from userid 8003)
                      id A20B881DCB; Sat, 27 Sep 2014 16:23:16 +0000 (UTC)
              Date: Sat, 27 Sep 2014 16:23:16 +0000
              From: GAW Miners <orders@gawminers.com>
              To: hoppenfeld@hotmail.com
              Message-ID: <5426e47498329_52793fb0751bf32c409a2@jobs20.chi.shopify.com.mail>
              Subject: Order confirmation for order #48818
              Mime-Version: 1.0
              Content-Type: text/plain;
               charset=UTF-8
              Content-Transfer-Encoding: 7bit
              Return-Path: orders@gawminers.com
              X-OriginalArrivalTime: 27 Sep 2014 16:23:17.0252 (UTC) FILETIME=[582BBC40:01CFDA6F]
              Thank you for placing your order with GAW Miners!
              This email is to confirm your recent order.
                 Date 09/27/2014
                 Billing address


                    United States
              1x Hashlet Genesis 500 for $397.50 each



              Subtotal      : $397.50 USD
              Total         : $397.50 USD




file ///C/users/cwatterson/Work%20Folders/Desktop/20%20investor%20documentation/Robert%20Alan%20Hoppenfeld/GAW00364057.html[5/1/2019 10 31 16 PM]
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